     Case 1:18-cv-00718-LJO-BAM Document 10 Filed 04/19/19 Page 1 of 2

 1

 2

 3

 4

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    ADONIS SERNA,                                      Case No. 1:18-cv-00718-LJO-BAM
12                       Plaintiff,                      ORDER TO SHOW CAUSE WHY
                                                         SANCTIONS SHOULD NOT BE IMPOSED
13            v.                                         FOR FAILURE TO COMPLY WITH A
                                                         COURT ORDER
14    OSCAR ROBLES, et al.,
                                                         (Doc. No. 5.)
15                       Defendants.
                                                         FIFTEEN (15) DAY DEADLINE
16

17

18          This action was removed from the Superior Court of California for the County of Tulare on

19   May 24, 2018. (Doc. No. 1.) On June 6, 2018, the Court approved the parties’ stipulation to stay

20   this matter pending the disposition of Plaintiff Adonis Serna’s (“Plaintiff”) pending underlying

21   criminal case. (Doc. No. 5.) The Court further directed Plaintiff’s counsel to file a written status

22   report every ninety (90) days to update defense counsel and the Court as to the status of the criminal

23   matter. (Id.) More than ninety days has elapsed since the last submission of a status report on

24   December 19, 2018, and Plaintiff’s counsel has failed to file a status report.

25         Accordingly, Plaintiff’s counsel Douglas L. Hurt is HEREBY ORDERED to SHOW CAUSE

26   why sanctions should not be imposed for his failure to comply with the Court’s order requiring the

27   submission of a status report every ninety (90) days. Plaintiff’s counsel shall file a written response

28   to this order to show cause within fifteen (15) days of service of this order. Plaintiff’s counsel may
                                                        1
     Case 1:18-cv-00718-LJO-BAM Document 10 Filed 04/19/19 Page 2 of 2

 1   comply with this order by filing the required status report.

 2          Failure to respond to this order to show cause may result in the imposition of sanctions.

 3
     IT IS SO ORDERED.
 4

 5      Dated:     April 18, 2019                              /s/ Barbara   A. McAuliffe       _
                                                        UNITED STATES MAGISTRATE JUDGE
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                        2
